Case 1:21-cv-21833-FAM Document 13 Entered on FLSD Docket 06/23/2021 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                   Case No. 1: 21-cv-21833-FAM

   JULIO C. MARRERO, a citizen of the
   State of Florida,

          Plaintiff

   vs.

   EDGEFIELD HOLDINGS, LLC, a
   Delaware limited liability company, John
   R. Sprague, a citizen of the State of South
   Carolina, Rustown Homes, Inc., a Texas
   corporation, and Michael B. Saraceno,
   Jr., a citizen of the State of Pennsylvania


         Defendants
   ___________________________________/

   PLAINTIFF JULIO C. MARRERO’S NOTICE OF VOLUNTARY DISMISSAL, WITH
              PREJUDICE, PURSUANT TO Fed. R. Civ. P. 41(a)(1)(A)(i),
                WITH INCORPORATED MEMORANDUM OF LAW

         Comes now the Plaintiff Julio C. Marrero (the “Plaintiff”), by and through undersigned

  counsel, and does hereby file this Notice of Voluntary Dismissal, with Prejudice, pursuant to

  Fed. R. Civ. P. 41(a)(1)(A)(i), with Incorporated Memorandum of Law (the “Notice”), and in

  support thereof states as follows:

         The Plaintiff does hereby file this Notice of Voluntary Dismissal, with Prejudice, and

  dismisses this action, with Prejudice, before any opposing party has served either an answer or a

  motion for summary judgment. See Fed. R. Civ. P. 41(a)(1)(A)(i) (“[T]he plaintiff may dismiss an

  action without a court order by filing: (i) a notice of dismissal before the opposing party serves

  either an answer or a motion for summary judgment”.)


                                                  1
Case 1:21-cv-21833-FAM Document 13 Entered on FLSD Docket 06/23/2021 Page 2 of 3




         This Notice immediately and automatically disposes of this entire action, with prejudice.

  See Absolute Activist Value Master Fund Ltd. v. Devine, 20-10237, 2021 WL 2177367, at *5 (11th

  Cir. May 28, 2021) (“This Court has made abundantly clear that a Rule 41(a)(1) voluntary

  dismissal disposes of the entire action, not just some of the plaintiff's claims. See PTA-FLA, Inc.

  v. ZTE USA, Inc., 844 F.3d 1299, 1307 (11th Cir. 2016) (“Rule 41 ‘speaks of voluntary dismissal

  of an action, not a claim.’ ” (quoting State Treasurer of Michigan v. Barry, 168 F.3d 8, 19 n.9

  (11th Cir. 1999) (Cox, J., specially concurring) (internal quotation marks omitted)). We have

  further stated that a plaintiff's voluntary dismissal under Rule 41(a)(1)(A)(i) “is effective

  immediately upon [ ] filing,” and thus no further court order is necessary to effectuate the

  dismissal. Matthews v. Gaither, 902 F.2d 877, 880 (11th Cir. 1990). It follows from these two

  propositions that, upon a plaintiff's notice of a Rule 41(a)(1)(A)(i) voluntary dismissal, the “action

  is no longer pending,” Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 395, 110 S. Ct. 2447,

  2455, 110 L.Ed.2d 359 (1990), and the district court is immediately deprived of jurisdiction over

  the merits of the case, Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272, 1279 (11th Cir. 2012)

  (“A district court loses all power over determinations of the merits of a case when it is voluntarily

  dismissed.”).”)




                                                    2
Case 1:21-cv-21833-FAM Document 13 Entered on FLSD Docket 06/23/2021 Page 3 of 3




        Respectfully submitted, this 23rd day of June, 2021.


                                                     By: /s/ Julio C. Marrero
                                                     Julio C. Marrero, Esq.
                                                     Florida Bar Number: 784664

                                                     MARRERO, CHAMIZO, MARCER
                                                     LAW, LP
                                                     Attorney for the Plaintiffs
                                                     3850 Bird Road, Penthouse One
                                                     Coral Gables, FL 33146
                                                     julio@marrerolawfirm.com
                                                     Telephone: (305) 446-0163
                                                     Facsimile: (305) 444-5538

                                                     By: /s/ Julio C. Marrero
                                                     Julio C. Marrero, Esq.
                                                     Florida Bar Number: 784664

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 23, 2021, a true and correct copy of the foregoing

  instrument was filed through CM/ECF and served.


                                                     By: /s/ Julio C. Marrero
                                                     Julio C. Marrero, Esq.
                                                     Florida Bar Number: 784664




                                                 3
